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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 JOHN DOE,                                         )
                                                   )
        Plaintiff.                                 )
                                                   ) Case No: 1:19-cv-02204-JMS-DML
                                                   )
 VS.                                               )
                                                   )
 INDIANA UNIVERSITY                                )
 BOARD OF TRUSTEES,                                )
                                                   )
        Defendant.                                 )



                                  FIRST AMENDED COMPLAINT


        PLAINTIFF, John Doe, by and through his attorneys, HOCKER & ASOCIATES, LLC,

 by Brett E. Osborne, complains against Defendant, Indiana University Board of Trustees, (IU),

 as follows:

                     THE NATURE OF THIS ACTION and RELEVANT FACTS

        1. This case arises out of the actions taken and procedures employed by IU, concerning

               allegations made against Plaintiff, a male senior student at IU, (designated herein as

               “John Doe” who is well known to the Defendant and is proceeding under said

               pseudonym with and by agreement of the Defendant), as a result of the alleged sexual

               misconduct with fellow IU female student, “Jane Doe” (who is well known to and by the
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          Defendant, and will not be named to protect her privacy until and/or unless it is

          demanded by the Defendant, Ordered by the Court or becomes necessary in the

          prosecution of this case).

       2. The sexual misconduct allegations against Plaintiff by Jane Doe refer to events that

          occurred in approximately August 2017, at an off campus location, when Plaintiff

          engaged in alleged behaviors towards Jane Doe that allegedly constituted sexual

          harassment and/or sexual assault, and an additional allegation that on or around

          December 2, 2017, at Collins Center, where it was alleged that Plaintiff engaged in

          behaviors towards Jane Doe that may constitute sexual harassment and/or sexual

          assault.

       3. John Doe did not sexually assault Jane Doe in August or December 2017, and any

          contact that transpired between John Doe and Jane Doe in August 2017 was

          consensual. On December 2017, Jane Doe invited John Doe into her room where they

          consensually kissed and when Jane Doe indicated she did not wish to engage in

          intercourse. John Doe acknowledged, agreed and voluntarily left the room.

       4. On or about October 31, 2018, John Doe was first notified by Defendant of a complaint

          made against him by Jane Doe of sexual misconduct, more than a year after the date of

          the alleged first incident.

       5. Thereafter, John Doe was assigned a student advocate by Defendant, a professor

          employed by Defendant, who advised him that, although he has the right to retain an

          attorney, that it was not necessary because the allegation was not a criminal proceeding.

          The student advocate then told John Doe that the case appeared “cut and dry” in his




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          favor. Based on said assertions by the appointed student advocate, Plaintiff did not

          advise his parents or seek legal counsel.

       6. On February 1, 2019, the Sexual Misconduct Board Hearing was held. Witnesses spoke

          about the August 2017 event, and no witness mentioned or provided evidence that John

          Doe touched her buttocks, though the Defendant found John Doe responsible for that

          allegation. Furthermore, regarding the contact, during the investigation, which evidence

          was provided/available at the hearing, Jane Doe stated, “I didn’t think anything of it

          really because I thought he was really cute, and I wanted him to like me.” A witness of

          the alleged contact said that “everyone laughed” and did not think anything of it.

       7. Jane Doe stated she was heavily incapacitated during the alleged December 2017 event.

          However, a witness who walked her home that evening stated she did not seem

          intoxicated. The Defendant concluded that Jane Doe was not truthful in her statements

          about being intoxicated.

       8. On or about December 3, 2017, the day after the alleged second incident, Jane Doe went

          to the hospital regarding head trauma she allegedly suffered as a result of the complaint.

          However, the investigation file contains no notes or medical records of said events other

          than submitting a medical bill that she went to the hospital. The investigators did not

          seek additional information about the hospital report or whether a rape kit was

          completed. If, in fact, she had indicated she was sexually assaulted on the prior night,

          as she alleged in this case, it would have been noted in any medical records, and the

          legal authorities would have been notified, which, to the best of Plaintiff’s

          understanding, as he was not contacted by any legal authorities at or near that time (or

          ever involving the alleged events), it and they were not. The investigation apparently



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          did not seek out said medical records, or notify Plaintiff that Jane Doe sought said

          emergency medical treatment until the hearing.

       9. The investigation file contains bills from Jane Doe’s therapy sessions after the incident.

          However, the investigators did not seek additional information about the therapy visit

          notes after the alleged incident and whether Jane Doe had attended therapy before

          December 2017.

       10. The investigator(s) did not address and/or seek any information regarding Jane Doe’s

          past, including social media, immediately prior to the alleged events, which would have

          disclosed a course and pattern of questionable allegations and conduct consistent with

          Plaintiff’s defenses.

       11. On February 15, 2019, John Doe was found responsible with violations of Sections H18

          Harassment and H20d Sexual Assault as defined in the IU Sexual Misconduct Policy,

          UA-03, with a recommendation of being expelled from IU.

       12. Thereafter, Plaintiff appealed said decision of the Sexual Misconduct Board, and on

          March 1, 2019, John Doe was told he lost his appeal and was expelled from IU, a mere

          two (2) months short of acquiring his Diploma.

       13. A non-exhaustive list of the claims against Defendant for the aforementioned conduct

          was set forth in John Doe’s First Notice of Tort Claim, which was timely filed and the

          mandatory ninety (90) day period to deny has not yet expired, which stated:

          Circumstances Regarding Loss: On or about March 1, 2019, Claimant was
          notified by that the Claimant’s appeal of the disciplinary decision of the Sexual
          Misconduct Panel was denied, thereby exhausting Indiana University’s
          Administrative Remedies and formally imposing final sanctions/punishment on
          Claimant. Said decision was based on disputed/contested improper sexual
          misconduct that was alleged to have occurred on two separate occasions, in August




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          2017 and December 2017. Specifically, portions of the initial allegations (obscene
          language omitted) were set forth by IU as follows:

             “it is alleged that in approximately August 2017, at an off campus location, you
             engaged in behaviors towards IU student Jane Doe that may constitute sexual
             harassment and/or sexual assault…It is alleged that on or around
             December 2, 2017, at Collins Center, you engaged in behaviors towards Jane
             Doe that may constitute sexual harassment and/or sexual assault.”

              On or about October 31, 2018, after the alleged incidents(s) were
          reported/discussed with IU Police Department, and no action was pursued or taken,
          Sarah Walton Kinney haphazardly conducted an investigation into the allegations.
          After the initial interview with Jane Doe, and prior to any discussions with
          Claimant or further investigation, they notified Claimant of the allegations, and
          enacted a No Contact Order, despite the fact that Claimant and Jane Doe had been
          at Indiana University as fellow students for nearly one year since the last alleged
          incident without incident or complaint.

              Thereafter, Indiana University, by and through its employees and/or agents,
          conducted a biased, including gender biased, incomplete, uninformed and
          negligent investigation, performed by unqualified individuals with inadequate
          training, prior to imposing sanctions/punishment on the Claimant which were
          unwarranted and outrageous. Said sanctions/punishment were then “rubber
          stamped” by a hastily comprised Sexual Misconduct Panel, of which the Claimant
          was provided no information concerning their qualifications and/or training and/or
          experience in similar matters.

               The misconduct on the part of some or all of the person(s) this Notice is hereby
          provided to, includes, but is not limited to, all issues raised during the course of the
          investigation, hearing and appeal, failure or Advisor to properly advise Claimant of
          his rights, and to falsely lead him to believe he had no real concern for the outcome
          (the case is “cut and dry” in his favor), or possible criminal sanctions, failure to
          obtain criminal records regarding Jane Doe, or discuss or investigate said criminal
          charges, for Jane Doe for the OWI she was charged with immediately prior to her
          filing charges herein, failure to conduct a thorough and impartial Investigation,
          gender bias against Claimant, failure to compel critical witnesses to testify at the
          disciplinary hearing, failure to obtain emergency medical records which it is
          believed would substantiate that immediately after the December 2017 alleged
          incident Jane Doe did not indicate any sexual assault occurred and she was not
          treated for any sexual assault/trauma, including performing any rape testing, and


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          the like, failure to obtain treatment records for Jane Doe alleged mental conditions
          and the causes thereof, failure to obtain Indiana University Police investigation
          documents, or advise Claimant that any such investigation occurred, failure to
          notify Claimant of possible criminal implications of giving any and all statements,
          failing to notify Claimant that any information was or could be shared with Police
          Authorities, failing to provide Claimant with a viable opportunity to cross examine
          the witnesses against him, failure to provide Claimant an opportunity to
          meaningfully defend himself, failure to properly and thoroughly comply with
          Indiana University’s Policies and Procedures, misrepresentations whether
          University Police had or would be notified, failure to abide by the requisite
          preponderance of the evidence standard, breach of contract, negligent hiring and
          retention, negligence, intentional and negligent infliction of emotional distress, the
          sanction/punishment was unwarranted and disproportionate in light of the
          circumstances, Violation of Title IX of the Education Amendments of 1972,
          Violation of Covenant of Good Faith and Fair Dealings, promissory estoppel,
          and/or Violation of Due Process Rights under 42 U.S.C. Section 1983. Claimant
          will seek redress for each of the foregoing in State/Federal Court, which may
          include injunctive and declaratory relief, and will file for all claims not mandatory
          under the Tort Claims Notice Act prior to the mandatory waiting period set forth in
          said statute and hereinafter.


       14. When Defendant subjected John Doe to disciplinary action, they did so in an arbitrary

          and capricious way, and in discrimination against him on the basis of his sex. Defendant

          failed and/or refused to adhere to its own policies and procedures and the policies and

          procedures themselves are inherently discriminatory and insufficient to protect the rights

          of male students. The decisions reached were discriminatory given the evidence (or lack

          thereof), a discriminatory bias against males and the underlying motive to protect

          Defendant’s reputation and financial well-being for a conclusion of sexual misconduct

          to be reached.

       15. John Doe has been greatly damaged by the actions of Defendant, his education and

          career prospects compromised only two months before his graduation with his college

          education at IU squandered.      Additionally, as a result of Defendant’s actions and


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            inactions, John Doe has suffered physical, psychological, emotional and reputational

            damages, economic injuries/damages and loss of educational and career opportunities.

        16. John Doe therefore brings his action to obtain relief based on causes of action for,

            among other things, violations of Title IX of the Education Amendments of 1972,

            breach of contract, negligence and other state law causes of action.

                           A. PARTIES, JURISDICTION and VENUE

        17. At all times relevant to this Complaint, John Doe was a natural person, citizen of the

 United States and resident of the State of Indiana. During the events described herein, John Doe

 was a student at Defendant Indiana University and resided near the University’s campus in

 Bloomington, Indiana.

        18. Defendant, Indiana University is an Indiana political subdivision and educational

 instrumentality of the State of Indiana, with its principal place of business located in Bloomington,

 Indiana.

        19. Upon information and belief, Defendants are acting under regulations set forth in the

 Indiana Code, and policies, procedures and practices of IU, and are responsible for administering

 and/or operating Defendant’s policies.

        20. This action arises under Title IX of the Educational Amendments of 1972, 20 U.S.C.

 Sec. 1681, et. seq., the Constitution of the United States of America, and Indiana Common Law

 (which will be added to this Complaint when proper Tort Claim Notice period has expired).

        21. This court has Jurisdiction over this action by virtue of federal question jurisdiction

 pursuant to 28 U.S.C. §1331.

        22. This court has personal jurisdiction over Defendant because Defendant resides in

 Indiana and/or conducts business within the State of Indiana.



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          23. Venue rests with this Court pursuant to 28 U.S.C. § 1391 and Southern District Civil

 Rule 82.1, because a substantial part of the events or omissions giving rise to the claims occurred in

 its judicial district.

                                                   COUNT I:

                          Violation of Title IX of the Education Amendments of 1972

          Plaintiff adopts and incorporates by reference the allegations in paragraphs 1-23 and further

 alleges as follows:

          24. Pursuant to 20 U.S. Code § 1681, et. seq, Title IX is a federal statute designed to

 prevent, inter alia, sexual discrimination in educational institutions receiving federal funding.

          25. Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681-1688, applies to all

 public or private educational institutions that receive federal funds, including colleges and

 universities. The statue prohibits discrimination based on sex in a school’s “educational program or

 activity.” Title IX provides, in pertinent part “[n]o person in the United States shall, on the basis of

 sex, be excluded from participation in or be denied the benefits of, or be subjected to discrimination

 under any education program or activity receiving Federal financial assistance.” 20 U.S.C. §

 1681(a). The United States Supreme Court has held that Title IX authorizes private suits for

 damages in certain circumstances.

          26. Defendant receives Federal financial assistance and is thus subject to Title IX.

          27. Title IX includes an implied private right of action, without any requirement that

 administrative remedies, if any, be exhausted. An aggrieved plaintiff may seek money damages and

 other relief.

          28.    Both the Department of Education and Department of Justice have promulgated

 regulations under Title IX that require a school to “adopt and publish grievance procedures



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 providing for the prompt and equitable resolution of student…complains alleging any action which

 would be prohibited by” Title IX or its regulations.         34 C.F.R § 106.8(b) (Department of

 Education); 28 C.F.R § 54.135(b) (Department of Justice).

        29. Title IX mandates Defendant afford equitable procedures and due process to John Doe

 which includes, but is not limited to, (a) providing adequate, reliable and impartial investigation of

 complaints, including the opportunity to present witnesses and other evidence, and/or (b) that

 Defendant’s employees involved in the conduct of the procedures have adequate training.

        30. Upon information and belief, in fact, specifically testified to at the Sexual Misconduct

 Board hearing by the investigators, Defendant knew, or in the exercise of due care should have

 known, employees did not have proper and/or adequate training regarding Title IX sexual

 misconduct claims, which caused them to violate John Doe’s Title IX rights.

         31. Defendant’s policies and the implementation thereof fail to meet the standards required

 by Title IX regarding how institutions of higher learning conduct disciplinary proceedings.

        32. As detailed throughout this Complaint, Defendant created an environment in which

 male students accused of sexual misconduct, such as John Doe, are fundamentally denied due

 process as to be virtually assured of a finding of guilt. Such a biased and one-sided process deprives

 male Indiana University students of educational opportunities based on their gender/sex.

        33. Defendant had actual or constructive knowledge that its investigation and/or discipline

 of John Doe posed a persuasive and unreasonable risk of gender discrimination with regard to John

 Doe.

        34. Defendant’s actions and inactions detailed in this Complaint set in motion a series of

 events that Defendant knew, or reasonably should have known, would cause male Indiana

 University students, such as John Doe, to suffer unlawful gender discrimination.



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          35. Defendant’s investigation and/or discipline of John Doe is discriminatory and based

  upon and/or motivated by John Doe’s male gender.

          36. The male gender discrimination by Defendant against John Doe, in addition to that

  previously set forth in this Complaint, includes, but is not limited to, preferential treatment given to

  Jane Doe in the method and manner witness statements were provided and the investigation is

  conducted, including the fact that Defendant failed and/or refused to provide John Doe the same

  protection in his complaints against Jane Doe and those that were afforded to her.

          37. As set forth above, the outcome was predetermined and simply a motion into a biased,

  prejudicial and implicitly unfair process against John Doe.

          38. Based upon the foregoing, Defendant imposed an unwarranted and excessive sanction

  on John Doe as a result of an erroneous outcome reached by a flawed investigation.

          39. Based on the foregoing, John Doe was subjected to a biased, prejudiced and explicitly

  unfair process in violation of Title IX.

          40. As a result of the foregoing, John Doe is entitled to damages in an amount to be

  determined at trial, plus prejudgment interest, attorney’s fees, expenses and costs.

                                               COUNT II

                    Violation of the Procedural and Substantive Component of
                    the Due Process Clause of the Fourteenth Amendment (42
                                          U.S.C. § 1983)

          Plaintiff adopts and incorporates by reference the allegations in paragraphs 1-40 and further

  alleges as follows:

          41. Under the Fourteenth Amendment, no state shall “deprive any person of life, liberty, or

  property, without due process of law.”




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          42. Higher education disciplinary proceedings are required to provide students with their

  due process rights.

          43. Plaintiff had the right as a university student to Fourteenth Amendment due process

  protections in higher education disciplinary proceedings.

          44. Defendant, through its employees, subjected Plaintiff to violations of his due process

  rights by allowing bias against males to motivate their decision to deny Plaintiff “fundamentally fair

  [disciplinary] procedures” required by United States Supreme Court decisions such as Goss v.

  Lopez, 419 U.S. 565 (1975).

          45. Defendant violated Plaintiff’s due process rights by:

          a. Irreparably damaging his right to pursue an education and future educational and

  employment opportunities and occupational liberty

          b. Denying him a “meaningful” opportunity to clear his name. See e.g., Matthews v.

  Eldridge, 492 U.S. 319, 333 (1976) (requiring disciplinary procedures that take place “at a

  meaningful time and in a meaningful manner.”).

          c. Engaging in a gender-biased practice of violating the rights of male students who were

  accused of sexual assault against female students.

          d. Failing to adequately train and supervise employees with regard to protecting students

  from violations of their due process rights.

          46. Plaintiff has suffered emotional distress, and his reputation and future educational and

  employment opportunities have been irreparably harmed as a direct and proximate result of

  Defendant’s denial of his due process rights under the Fourteenth Amendment.




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          WHEREFORE, Plaintiff, by Counsel, demands judgment against the Defendant in an

  amount to be determined at trial, for reasonable attorney’s fees, prejudgment interest, expungement

  of any and all notations of expelled/suspended, and the like, from Plaintiff’s educational transcripts

  and records/files, for the costs of this action, and for all other relief the court deems just and proper

  in the premises.

                                                   COUNT III

                                               Breach of Contract

          Plaintiff adopts and incorporates by reference the allegations in paragraphs 1-46 and further

  alleges as follows:

          47. Doe applied to and enrolled at Indiana University and, with the assistance of his parents,

  paid tuition and other fees and expenses. Doe did so in reliance on the understanding, and with the

  reasonable expectations, inter alia, that Defendant would implement and enforce its policies and

  Defendant would comply with the requirements of applicable law.

          48. Defendant’s policies create an express contract or, alternatively, a contract implied in

  law or in fact, between Defendant and Doe. Defendant violated these contracts by engaging in the

  conduct detailed in this Complaint.

          49. Defendant improperly and unlawfully applied its policies in part by not affording Doe

  rights to which he is entitled.

          50. Defendant also violated its policies in part by applying an incorrect definition of

  consent.

          51. Defendant’s unlawful conduct, detailed in this Complaint, evidences its repeated and

  material breaches of its policies as well as a breach of implied covenant of good faith and fair

  dealing inherent to Defendant’s policies.



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          52. During all times relevant to this complaint, Doe did all, or substantially all of the

  significant things that Defendant’s policies required him to do.

          53. Defendant’s aforementioned breaches of its policies were wrongful and without lawful

  justification or excuse.

          54. As a direct and foreseeable result of these breaches of contract, Ross has sustained, and

  will continue to sustain, injury damage and loss, including, but not limited to: mental anguish,

  emotional distress, loss of educational opportunities and loss of career prospects.

                                               COUNT IV

                                                Negligence

          Plaintiff adopts and incorporates by reference the allegations in paragraphs 1-54 and further

  alleges as follows:

          55. Defendant owed duties of care to Doe, arising from the obligations delineated in

  Defendant’s Policies and Procedures, and directives issued by the U.S. Department of Education’s

  Office of Civil Rights. Such duties included, without limitation, a duty of reasonable care to allow

  Doe an equal opportunity to present information and witnesses in support of his defense, a duty of

  care to conduct an impartial and thorough investigation of the allegations of sexual misconduct

  against and for Doe, a duty to properly and adequately train its investigative staff, and a duty of care

  to utilize the preponderance of the evidence standard in reaching a determination.

          56. As set forth in this Complaint, Defendant breached their duties owed to Doe.

          57. As a direct and proximate result of the conduct set forth in this Complaint, Doe

  sustained damages, including, without limitations, emotional distress, economic injuries and other

  direct and consequential damages.




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          WHEREFORE, Plaintiff, by Counsel, demands judgment against the Defendant in an

  amount to be determined at trial, for reasonable attorney’s fees, prejudgment interest, expungement

  of any and all notations of expelled/suspended, and the like, from Plaintiff’s educational transcripts

  and records/files, for the costs of this action, and for all other relief the court deems just and proper

  in the premises.




                                                     Respectfully submitted,

                                                     HOCKER & ASSOCIATES, LLC

                                                     /s/ Brett E. Osborne
                                                     Brett E. Osborne
                                                     Attorney No: 17492-45
                                                     6626 E. 75TH Street, Suite 410
                                                     Indianapolis, Indiana 46250
                                                     Attorney for Plaintiff



                                    CERTIFICATE OF SERVICE

      I hereby certify that on the 4th day of October, 2019, a copy of the foregoing document was

  filed electronically. Notice of this filing will be sent to the following parties by operation of the

  Court’s ECF.

  Hamish.Cohen@mbcblaw.com




                                                          /s/ Brett E. Osborne
                                                          Brett E. Osborne
                                                          #17492-45




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